                     UNITED STATES BANKRUPTCY COURT
                      EASTERN DISTRICT OF MICHIGAN
                            SOUTHERN DIVISION


In re:                                                          Chapter 13

Berlinda Good,                                                  Case No. 16-54035
a/k/a Law Offices of Berlinda Good,
                                                                Hon. Phillip J. Shefferly
         Debtor.
                                             /


               OPINION AND ORDER GRANTING SECOND APPLICATION
                  FOR DEBTOR’S ATTORNEY FEES AND EXPENSES


         On October 13, 2016, Berlinda Good (“Debtor”) filed this Chapter 13 case. On

June 12, 2017, the Court confirmed the Debtor’s plan. On June 18, 2017, the Debtor

filed an adversary proceeding against Educational Credit Management Corporation

(“ECMC”) under § 523(a)(8) of the Bankruptcy Code, seeking to discharge over

$223,000.00 of student loans that the Debtor took out to pay for law school and for

her daughters to go to college. The complaint alleged that the Debtor is 66 years old,

has custody of three grandchildren under the age of seven, has substantial debt owing

to the Internal Revenue Service, and that repaying her student loans owing to ECMC

would impose an undue hardship on her and her dependents.

         ECMC answered the complaint and filed a motion for summary judgment. The

motion was supported by excerpts of the Debtor’s deposition testimony, as well as



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numerous tax returns, bank statements, and other documentary evidence. The Debtor

filed a response, which was also supported by excerpts of her deposition testimony,

documentary evidence, and affidavits.

      On April 3, 2018, the Court denied ECMC’s motion for summary judgment in

a bench opinion in which the Court identified various material issues of fact that are

in genuine dispute.       Following the Court’s bench opinion, the Debtor and

ECMC agreed to dismiss the adversary proceeding, without prejudice, so that the

Debtor could pursue an income based repayment program with ECMC, putting aside

for the time being the question of whether the Debtor’s student loans are

non-dischargeable under § 523(a)(8).

      On April 17, 2018, the Debtor’s attorney, Kurt O’Keefe (“O’Keefe”) filed a

second application for attorney fees and expenses (“Second Application”) (ECF

No. 84). The Second Application notes that O’Keefe was previously awarded fees

and expenses in the amount of $7,106.62 through confirmation of the Debtor’s plan.

The Second Application seeks an award of post-confirmation fees in the amount of

$11,270.00 and expenses in the amount of $253.19. The vast majority of these fees

and expenses relate to services performed in prosecuting the adversary proceeding

against ECMC. On May 8, 2018, the Chapter 13 Standing Trustee, David Ruskin

(“Trustee”) filed an objection (“Objection”) (ECF No. 87). On June 4, 2018, O’Keefe


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filed a response (ECF No. 91). On June 5, 2018, the Court held a hearing on the

Second Application. The Court took the Second Application under advisement and

is now ready to rule on it.

      The Objection contains numbered paragraphs, but basically boils down to two

principal arguments: first, O’Keefe’s hourly rate of $350.00 per hour is excessive;

second, the services performed by O’Keefe in connection with the adversary

proceeding are unreasonable and excessive, because the adversary proceeding did not

have any reasonable likelihood of being successful under the prevailing case law

regarding § 523(a)(8), and provided no benefit to the Debtor or the Debtor’s creditors.

During the hearing, the Court overruled the Trustee’s argument regarding O’Keefe’s

hourly rate. The Court will now address the Trustee’s other principal argument.

      The Trustee correctly points out that the adversary proceeding did not result in

a judgment in the Debtor’s favor. As noted above, the Debtor and ECMC agreed to

dismiss the adversary proceeding without prejudice to the Debtor’s right to refile it in

the future. Without a favorable and complete adjudication, the Trustee argues that the

Debtor and the Debtor’s creditors did not receive any benefit from O’Keefe’s services

in the adversary proceeding. The Debtor still owes the student loans to ECMC and

is no further ahead than when she filed the adversary proceeding. According to the

Trustee, O’Keefe should never have brought the adversary proceeding in the first


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place because the Sixth Circuit Court of Appeals in In re Oyler, 397 F.3d 382 (6th Cir.

2005), adopted what is known as the Brunner test for dischargeability of student loans.

Under that test, a debtor seeking to discharge a student loan must prove that the debtor

cannot maintain a minimal standard of living based on current income and expenses;

that additional circumstances exist indicating that this state of affairs is likely to

persist; and that the debtor has made a good faith effort to repay the student loans. Id.

at 385 (citing Brunner v. New York State Higher Educ. Serv. Corp., 831 F.2d 385

(2d Cir. 1987)). Measuring the Debtor’s income and expenses against this standard,

the Trustee argues that there is no way the Debtor could have been successful in the

adversary proceeding and that O’Keefe, an experienced Chapter 13 bankruptcy

attorney, should have known that.

      O’Keefe counters that the Debtor hired him not just to file a Chapter 13 case,

but to file an adversary proceeding to address her student loans – by far her largest

debts. What’s more, the facts regarding the Debtor’s income and expenses that

existed at that time suggested to him that the Debtor had a reasonable likelihood of

prevailing in the adversary proceeding. O’Keefe points out that he has successfully

brought other § 523(a)(8) cases. Based on the Debtor’s age, dependents, health, and

other financial circumstances, as well as his own past experience in handling these




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types of cases, O’Keefe argues that he reasonably believed that he could be successful

in the adversary proceeding, even under the controlling case law.

      While O’Keefe acknowledges that he ultimately agreed to dismiss the adversary

proceeding without prejudice, he explains that he did so for three reasons. First, he

says that the Chapter 13 trustees in the Eastern District of Michigan have historically

objected to separate classification of student loan claims in Chapter 13 plans, but no

longer do so. If this had been the policy of the Chapter 13 trustees in this district prior

to filing the adversary proceeding, O’Keefe concedes that he might not have filed it,

and might have pursued a different legal strategy. But the trustees’ change of policy,

according to O’Keefe, occurred after the adversary proceeding was filed. Second, the

Debtor’s financial circumstances at the time that he filed the adversary proceeding

also changed. Specifically, the Debtor, without O’Keefe’s knowledge or approval,

entered into a lease for office space for $450.00 per month after the adversary

proceeding was filed, thereby undermining O’Keefe’s contention that the Debtor

cannot maintain a minimal standard of living based on current income and expenses.

Had that fact existed at the time the adversary proceeding was filed, O’Keefe states

that he may not have filed the adversary proceeding. Third, during the course of the

adversary proceeding, O’Keefe discussed with ECMC the possibility of an income

based repayment program. Because the Debtor has now applied for that program, it


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is no longer necessary, at least for now, for O’Keefe to continue to prosecute the

adversary proceeding.

      In sum, O’Keefe argues that the Court should not measure the benefit of his

services for the Debtor solely by looking at the results obtained in the adversary

proceeding, but should instead consider whether those services were reasonably likely

to benefit the Debtor at the time that such services were performed. Finally, O’Keefe

notes that the Debtor does not object to his requested fees, and even the Trustee does

not object to the amount of time that O’Keefe spent on his services, but only that he

did not obtain a favorable result in the adversary proceeding.

      The Court’s analysis starts with § 330(a) of the Bankruptcy Code and the

lodestar method from Boddy v. United States Bankruptcy Court (In re Boddy),

950 F.2d 334 (6th Cir. 1991). The lodestar amount “is calculated by multiplying the

attorney’s reasonable hourly rate by the number of hours reasonably expended.” Id.

at 337. As noted, the Court already ruled that O’Keefe’s hourly rate is reasonable.

That leaves the question of the number of hours reasonably expended.

      This is not an easy call. If measured solely by the results obtained, the Trustee

is correct that the adversary proceeding did not produce a tangible benefit to the

Debtor by obtaining a judgment of dischargeability. No doubt, results are important.

But results are not the only thing the Court looks at under § 330 of the Bankruptcy


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Code when determining whether a lawyer’s services in prosecuting litigation for a

debtor are compensable. See In re McLean Wine Co., 463 B.R. 838, 848 (Bankr.

E.D. Mich. 2011) (“The pertinent question is not whether the services performed by

the professional conferred an actual benefit upon the estate; but whether, when viewed

under the circumstances in existence at the time, the services were reasonably

calculated to benefit the estate.”). Rather, the Court looks at all of the circumstances

that existed at the time that the lawyer performed the services. In doing so, the Court

must “resist the temptation to engage in 20/20 hindsight, and focus instead on facts

known (or which should have been known) to the applicant at critical points during

the pendency of the case.” Id. (quotation marks and citations omitted). See also

Norcross Footwear, Inc. v. Gannott (In re Red Ball, Inc.), 157 F. Appx. 850, 852

(6th Cir. Dec. 5, 2005) (noting that “it is not fair to judge the necessity of [legal

services] with the benefit of hindsight” even when an attorney’s “efforts later turned

out to be largely unproductive”).

      To be reasonably calculated to benefit the estate, or in the case of Chapter 13,

to benefit the debtor, “the services rendered must relate to a realistically obtainable

goal.” In re Williams, 378 B.R. 811, 824 (Bankr. E.D. Mich. 2007) (quotation marks

and citation omitted). If “a reasonable lawyer would have performed similar services

in attempting to maximize” the benefit to a Chapter 13 debtor under the same


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circumstances, the fees are “compensable regardless of the ultimate outcome.” In re

Value City Holdings, Inc., 436 B.R. 300, 306 (Bankr. S.D.N.Y. 2010) (citation

omitted). The court should “afford a degree of deference to the professional’s

decision so long as objectively reasonable at the time.” In re Kennedy Manufacturing,

331 B.R. 744, 748 (Bankr. N.D. Ohio 2005).

      When O’Keefe filed the adversary proceeding, he did so because his client

wanted to address her student loans. At that time, there was no precedent in this

district approving separate classification of student loans in a Chapter 13 plan nor,

according to both O’Keefe and the Trustee, did the Chapter 13 trustees in this district

approve of such separate classification. Apparently – and the Court has no reason to

believe otherwise – there has been some recent change in the policy of one or more

of the Chapter 13 trustees regarding this issue. The Court does not have any

independent knowledge of any change in the trustees’ position, and the Court itself

has not yet ruled on this issue, but O’Keefe and the Trustee seem to agree that there

was a recent change in policy. That fact supports O’Keefe’s contention that he might

not have filed this adversary proceeding had that policy been adopted previously.

      According to O’Keefe – and the Trustee does not argue otherwise – when she

filed the adversary proceeding, the Debtor had no other viable option to deal with the

student loans that she owed to ECMC. The Debtor’s sole recourse was to seek a


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determination of non-dischargeability under § 523(a)(8). The Trustee is correct that

Oyler and Brunner set an extraordinarily high bar for a debtor to prevail under

§ 523(a)(8), but the Court does not agree that it is a foregone conclusion that the

Debtor would have lost the adversary proceeding. In fact, the Court ruled in the

Debtor’s favor and denied ECMC’s motion for summary judgment because there were

genuine issues of material fact in dispute in the adversary proceeding. At a minimum,

that shows that the Debtor’s adversary proceeding was not frivolous.

      Further, it is well documented that student loans are an enormous problem in

our country. Despite the fact that the Brunner standard has been adopted by most of

the Circuit Courts of Appeal for a number of years, there is a substantial amount of

scholarly attention currently being given to the question of whether the Brunner

standard should be revisited. In light of the Debtor’s age and other personal and

financial circumstances, it was not unreasonable for O’Keefe to counsel the Debtor

to bring an adversary proceeding under § 523(a)(8). Even if the Debtor could not

ultimately succeed in meeting the Brunner test, the Debtor might convince the Sixth

Circuit to reconsider the Brunner test. Admittedly, that’s probably a long shot. But

without any other viable options, it is not hard to understand why the Debtor would

wish to take that chance rather than just resign herself to the fact that when she




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finishes her Chapter 13 case five years from now, at 71 years of age, she would still

owe $223,000.00, plus interest, to ECMC.

      The Court does not believe that compensation should be awarded to a debtor’s

attorney under § 330 when the facts show that the debtor’s attorney is tilting at

windmills. But in view of the Debtor’s age, health, financial circumstances and the

current scholarly debate regarding the Brunner test, and considering the absence of

viable alternatives for the Debtor to deal with her student loans at the time that she

filed her adversary proceeding, the Court finds that the services rendered by O’Keefe

in prosecuting the adversary proceeding were reasonably likely to provide a benefit

to the Debtor at the time that the services were rendered. Further, the work that was

done in the adversary proceeding, while not producing a judgment thus far, may still

prove to have value going forward, depending on the outcome of the Debtor’s

application for an income based repayment program and possible plan modification.

In any event, even if none of O’Keefe’s work is used again in the future in this

Chapter 13 case or in an adversary proceeding, the Court still finds that the work was

reasonably likely to benefit the Debtor at the time that it was performed. Accordingly,

      IT IS HEREBY ORDERED that the Objection (ECF No. 87) is overruled, and the

Second Application (ECF No. 84) is granted.




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      IT IS FURTHER ORDERED that O’Keefe is awarded fees in the Second

Application in the amount of $11,270.00 and expenses in the amount of $253.19.




Signed on June 15, 2018




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